 Case 1:19-cv-00492-CFC Document 25 Filed 11/09/20 Page 1 of 3 PageID #: 345




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


REALTIME DATA, LLC., d/b/a IXO

                   Plaintiff,             C.A. No. 17-800-CFC

    v.

ARRAY NETWORKS INC.,

                   Defendant.


REALTIME DATA, LLC., d/b/a IXO

                   Plaintiff,             C.A. No. 19-394-CFC

    v.

OPEN TEXT, INC.,

                   Defendant.


REALTIME DATA, LLC., d/b/a IXO

                   Plaintiff,             C.A. No. 19-492-CFC

    v.

MONGODB INC.,

                   Defendant.




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REALTIME DATA, LLC., d/b/a IXO

                      Plaintiff,                    C.A. No. 18-1964-CFC

     v.

QUEST SOFTWARE INC.,

                      Defendant.


REALTIME DATA, LLC., d/b/a IXO

                      Plaintiff,                    C.A. No. 19-1279-CFC

     v.

NIMBUS DATA, INC.,

                      Defendant.


REALTIME DATA, LLC., d/b/a IXO

                      Plaintiff,                    C.A. No. 18-2017-CFC

     v.

CTERA NETWORKS, INC.,

                      Defendant.


                                   JOINT STATUS REPORT

       The above-entitled cases were Ordered stayed pending the appeal of Plaintiff Realtime

Data, LLC, of judgments invalidating some or all of the asserted patents in the following related

cases: D.I. 61, C.A. No. 17-1635; D.I. 48, CA No. 17-cv-1676; D.I. No. 44, C.A. No. 18-1200;

D.I. 25, C.A. No. 18-2062. On or about, October 23, 2020, the Federal Circuit issued its Opinion

on the appeals remanding the matters back to this Court for further proceedings. A copy of this




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opinion is attached hereto. The parties hereby request a status conference to discuss the case

schedule in light of the Federal Circuit opinion, with a joint status report filed a week in advance

of the hearing laying out the parties’ positions as to whether the stay should remain in place.



 Dated: November 9, 2020                           BAYARD, P.A.

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